      Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 1 of 13




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            6                                      ,                                  .  J
            7
            8                                   UNITED STATES DISTRICT COURT
            9                SOU THERN D ISTM CT OF FLORID A - W EST PALM BEA CH DIV ISION
           10
           11 ROBERT K ELLY ,ERY N LEARN ED ,and              Case N o. 22-mc-81814-AMC
              K ERRY W AN O ?on behalfofthem selvesand
           12 a11otherssimilarly simated,                     M EM ORANDUM OF POINTS AND
                                                              A UTH O R ITIES IN SU PPO R T O F
           13                      Plaintiff,                 D EFEN DA NT TH E M CCLA TCH Y
                                                              COM PANY,LLC'SM OTION TO QUASH
           14            vs.                                  SUBPOENA TO BISCAY NE
                                                              M AR K ETIN G,IN C .
           15 THE M CCLATCHY COM PAW ,LLC,a
              D elaw al'e Corporation,                        Ilate:
           16                                                 Tinle:
                              flefendant.                     Crtm :
           17
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LEV;S
BRI
  SBOI
     S          4866-8756-5116.1
BISGM RD
                   W M ORANDUM 0F POINTS Ar AUTHORITIES IN SIJPPORT OF DEFENDANT TI!E M CCLATCHY
lc
 v
 saslT
     %                     COMPAW ,LLC'SM OTION TO QUASH SUBPOENA T0 BISCAYNE M ARKETING,INC.
       Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 2 of 13




              1                                                 TA BLE O F C O NTENTS
                                                                                                                                            Paze
             2




             7 V.          JCK LEGA CY CO         IS N O T A P TY TO T A CTION A ND
                           M CCLA TCHY    S N O SUCCESSOR L1 ILITY FOR T       LEGED



             10            A.        DefendantMcclatchy'sMbtiontoQuashRelatesBacktotheDateofthe
                                     O riginalFiling                                                                                             6
             11
                           B.        Infonnation SoughtBy The Subpoena Can Be Obtained From Plaintiffs'

             13            C.        Even Though JCK Legacy Company IsN otA Pa ,Inform ation A boutIt                                                  '
                                     Can Be Obtained From JCK Legacy Com pany'sBanknzptcy Case..........................7
             14
                           D.        The Subpoena To Biscayne M arketing,lnc.is lmperm issibly O verbroad................7
             15
                           E.        The Subpoena To Biscayne M arketing,Inc.W ould Be Unduly

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              7            L2.       rlnllthf;lzl)ll()elza rl-ll131
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                        756-5116.1
                             .                                            i
BISG D
&    ljp                 MO          UM OF POm TSA             AUTHORITIES IN SUPPORT OF DEFE                    ANT THE M CCLATC
ArC/NMATMW                   COM PA       ,LLC'S M OTION TO QUASH S POENA TO BISCA                              M ARKETING,m C.
        Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 3 of 13


                                                                                                      f


                 1 1.      G TR O DU CTIO N

                 2         Plaintiffshaveissued aSubpoenatoProduceDocuments,lnfonnation,orObjectsorTo
                 3 PermitInspectionofPremisesinA CivilAciion Cçsubpoena'')to(1)BiscayneM arketing,lnc.;(2)
                 4 A Marketing Resource,LLC;(3)Localis,LLC;(4)Inka Solutions,Inc.,
                                                                                 'and (5)Alorica,Inc.
                 5 (collectively,the ttrfhird Partiesn),attempting to compelthem to produce a broad spectntm of
                 6 btlsinessrecordsand ES1related to theirbusinessrelationship with The M cclatchy Company,LLC

              ' 7 (ttM cclatchy'') and its predecessor,JCK Legacy Company and its subsidiary publications
                 8 (collectively,the tr ebtorM cclatchy''or<EJCK Legacy Company'').SeeDeclaration ofAmy L.
                 9 Piercein SupportofDefendantTheMcclatchy Company,LLC'SM otion to Quash Subpoenato
                10 BiscayneM arlceting,lnc.(dtpierceDec1.'')!(2 & Ex.A.TheseSubpoenasseekdocllmentsandES1
                11 contrary to the lim itsofFederalRules ofCivilProcedure26 and 45.The Subpoenasseek to im pose
                12 the imperm issiblebttrden on the Third Partiesto respond toprem ature,overbroad,burdensom e and
                13 expensive discovery evep though they arenotpartiesto tlzisAction.On October24,2022,ouroffice
                14 sentan e-m ailto Plaintiffs'counsel Anthony Paronich thatinform ed him thatD efendantplans to
                15 m ove to quash Plaintiffs'subpoenasto M cclatchy'svendors.In thate-m ail,ourofficenotified M r.

                16 Paronich thatDefendant'sMotion toQuashisdueforfilingon October26,2022,andinvitedhim
                17 tomeetand conferbeforethefiling.PierceDecl.!7 & Ex.E.Asof12:00p.m.on October26,
                18 2022,ouroftkereceivednoresponse.1d.DefendantM cclatchyfileditsMotiontoQuashPlaintiffs'
                19 Subpoenas on O ctober 26,2022 before the Eastel'
                                                                  n D istrict of Califom ia,United States Distdct
               20 Coul-t.PierceDecl.!8& Ex.F.
               21          On O ctober27,2022,Plaintiffs' counselcontacted counselfor D efendantM cclatchy and
               22 notifiedthem thatDefendantM cclatchy'sM otiontoQuashwasnotfiledpursuanttoRule45ofthe
               23 FederalRules ofCivilProcedure,which requiresm otionsto quash to be filed in the courtin which
               24 subpoenacomplianceisrequired.PierceDecl.!9 & Ex.G.PlaintiffsandDefendanthavesince
               25 requestedaconferencewiththeM agiskateJudgeassignedfordiscoverydisputes.PierceDecl.!r
               26 10 & Ex.G .
               27          Regardless,Plaintiffs'subpoenatoBiscayneM arketing,Inc.remainspremature,overbroad,
LEO S          28 andIlnnecessalilyburdensome.Onthesebases,M cclatchymovesthisCourtforanorderqu'ashing
BRISBOIS             4g66-ws6-sl16.1                          1
BO Y D
ao um                    X M ORAN DUM OF POm TSM D AUTHORITIES IN SUPPORT OF DEFENDANT TI'
                                                                                         1E M CCLATCH Y
AITœNZ
     YSAIL-                 COMPAW ,LLC'S M OTION TO QUASH SUBPOENA TO BISCAYNE M ARKETING,INC.
           Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 4 of 13




                  1 the Subpoena' to Biscayne M arketing, Inc. pttrsuant to Federal Rule of Civil Procedure

                  2 45(d)(3)(A)(i)and45(d)(3)(A)(iv).Forthereasonssetforthbelow,M cclatchyrespectfullyrequests
                  3 thatthe Coul'tgrantthe instr tM otion and quash the Subpoena to B iscayneM arketing,Inc.
                 4 11.       STANDARD ON M OTIONS TO OUASH
                  5          Rule 45 of the FederalRules of CivilProcedtlre requires the courtfor the disM ctwhere

                 6 complianceisrequiredtoquash tbesubpoena.Fed.R.Civ.P.45(d)(3)(A).FederalRuleofCivil
                 7 Procedure45(d)(1)requiresPlaintiffsto,d<takereasonablestepstoavoidimposingundueb
                                                                                                  t
                                                                                                    urdenor
                  8 expenseon aperson subjecttothe subpoena.''Rule45(d)(3)govel'nstheprocedureforquashing
                 9 subpoenasthatexceed the.scope ofFederalRules ofCivilProced'
                                                                             ure 45.Rule45(d)(3)(A)(iii)
                 10 requirestheCourtto quash asubpoenawherethesubpoenaItsubjedsapersontoundueburden.''
                 11 Fed.R.Civ.P.45(d)(3)(A)(iv).
                 12          Otherwise,FederalRuleofCivilProcedure26 lim itsPlaintiffsrightsto discovely to,
                 13          tEdiscovely regarding any nonprivileged m atterthatisrelevantto any party'sclaim
                             ordefense and propol-tionalto the needsofthe case,considedng the im portance of
                 14          the issues atstke in th.e action,the nmountin conyoversy,the parties'relative
                             access to relevant inform ation, the parties' resources, the im portance of the
                 15          discovery in resolving the issues? and w hether the burden or expense of the
                             proposed discovery outweighsitsllkely benefit''
                 16
                      ti-f'
                          he scopeofdiscovery through aRule 45 subpoena isthe sam easthescopeofdiscovery penuitted
                 17                       .                                                                      .
                      underRule26(b).''GenusLfesciencesv.LannettCo.,No.18-cv-07603-W HO,2019W L 7313047,
                 18
                      at*5(N.D.Cal.Dec.30,2019),quotingSullivanv.PersonalizedM edia Commc'ns,LLC,No.16-
                 19
                      mc-80183-M EJ,2016W L 5109994,at*2(N.D.Cal.Sept.21,2016).
                 20
                             The Court is required to lim it discovery if it determines that ç<the discovery sought is
                 21
                      tuzreasonably cllm ulative or duplicative,or can be obtained 9om som e other source thatis m ore
                 22
                      convenient,lessbmdensome,orlessexpensive.''GenusLfesciences,2019W L 7313047,at*5,
                 23
                      citingFed.R.Civ.P.26(b)(2)(c)(i).<rnaRule45motiontoquash asubpoena,themovingparty
                 24
                      hastheburden ofpersumsion,buttheparty issuingthe subpoena m ustdem onstrate thatthe discovery
                 25
                      soughtisrelevant.''GenusLifesciences,2019W L 7313047,at*5,quotingPers.AudioLLC v.Togl'
                 26
                      Entm 't,fac.,No.14-M C-80025RS@ C),2014W L 1318921,at*2(N.D.Cal.M ar.31,2014).The
                 27
                      Courtmay otherwisepropdrly grantM cclatchy'sM otion becausePlaintiflkhave failed to attempt
                 28
LEO S
BRISBOIS              4866-8756-5116.1                            2
BI
 SGW D
&1*HEP                    M EM ORAN DUM 0F POINTS Ar AITITIORITIES IN SU PPORT 0F DEFEN DAN T TlG M CCLATCHY
AITœ NEYSATLAW                COM PAW ,LLC'SM OTION TO QUASH SUBPOENA TO BISCAYO M ARKETING,INC.
       Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 5 of 13




               1 toobtainthedoctlmentsandESIfrom othersources.SeeGenusLfesciences,2019W L 7313047,at
               2 *5,citingt?w v.UnitedStates,No.17-CV-û0733-SK,2018WL 6267839,at*1(N.D.çal.June12,
               3 2018)(graktinginpartmotibntoquashsubpoenaf:rdocllmentsthatplaintiffscouldhavéobtained
               4 direçtlyfrom defendant).
               5           M cclatchy has standing to bring this M otion because ithas açtpersonalrightorpl-ivilegeill
               6 the inform ation soughtby the subpoena.''See Sfagfcfcr-pv.Sterling Transp.Co.,Inc.,289 F.R .D .

               7 237,239(E.D.Va.2012)(quoting UnitedStatesv.Idema,118F.App'x740,744(4thCir.2005:.
               8 A pal-ty hasstanding to challenge a subpoenato a non-party w hen theparty m ay claim privilege or
               9 protection in the docum entsbeing sought.See 9A W right,M iller,K ane& M arcus,FederalPractice

              10 & Procedurej2459(3ded.2012).And,Rule45(c)(3)(B)(i)statesthatQ'Etjoprotectaperson ...
              11 affected by a subpoena,the ...courtm ay,on m otion,quash orm odify the subpoena ifitrequires:

              12 (i) disclosing a trade secret or other contidential research, development, or commercial                 '
              13 infonnation.''SeealsoIn re C.R.Bard,Inc.,PelvicRepairSys.Prods.Liab.Litig.(S.D.W .Va.
              14 2012)287 F.R.D.377,382 (finding thataparty who asset4ed thatproduction would resultin
              15 disclosureofitconfidentialandproprietarydocuments''hadstandingtofileamotiontoqumsh).The
              16 Subpoenasseek inform ation collected and m aintained by the Third Parties aspartoftheirbusiness
              17 relationship with M cclatchy mld, therefore, M cclatchy has the right to protect against the
              18 disclosure ofthisinform ation pursuantto an im propersubpoena.
              19 111.      PR O CED UR A L PO STU R E O F TH IS AC TIO N

              20            OnSeptember23,2022,M cclatchyfiledaMotiontoDismiss(ECF 66)andM otiontoStrike
              21 (ECF 67).TheseM otionshavebeen fully briefed and remain pending.Otherwise,in connection
              22 with Plaintiffs'amendmentoftheirComplaim (ECF 1),thePal-tiesstipulated to PlaintiffsEling
              23 theirFirstAmendedComplaint($TAC'')(ECF 51,53)and,moreover,stipulatedtoanextensionof
              24 the due date ofM cclatchy'sresponses to Plaintiffs'w ritten discovery to $130 daysafterouranswer

              25 or30daysaftertheCourtrulesonthemotiongsj''(seePierceDecl.!3& Ex.B).
              26           M aterialto these M otions,M cclatchy seelcsto dislnissPlaintiffs claim sand otherwise seeks
              27 to dism issand strike the classallegations.'rheN inth Circuit'srecentdecision in Bowerlnan v.Field

LEV;S         28 Asset5'
                       crv.,.
                            J?7c.,39F.4th652(9thCirc.2022),confirmsthatanAction likethisoneisnotsuitable
BRI
  SBOIS            4g66-g7s6.s:1s1
                             .                              3
BI
 SGM RD
ao     jjp            M EM ORAND UM OFPOm TSAr AU TH ORITIESIN SUPPORT OF DEFEN DAN T TIIE M CCLATCHY
AFOR:EBAT>w                  COM PAW ,LLC'SM OTION TO QUASH SUBPOENA TO BISCAYNE MARKETING,INC.
I              Case 9:22-mc-81814-AMC Document 5 Entered on
                                                         ,
                                                            FLSD Docket 11/21/2022 Page 6 of 13




                      1 for class resolution because proving that each class m emberhas Article IlI standing would be
                      2 ttexcessively difficult,''requil-ing an extensive analysisof each and every putative class m em ber's
                      3 relationship w ith M cclatchy.SeeBowerm an,39 F.4th at661-63;D uran v.ULS.BankN at1 Ass'n,

                      4 19Cal.App.56 630,633(2018)(çsplaintiffsfailedtodemonstratethatthecaseismanageableasa
                      5 classactiolf');compareto FAC ! 123.Even iftheCout'
                                                                         twerenotto granttheseM otions,under
                      6 Bow ennan,given the nature ofthe claim s in this A ction,itis inconceivable thatPlaintiffs w illbe
                      7 ableto m aintin thisA ction as a classaction.See1d.
                      8 lV.     PLAINTIFFS'CALL REC OR DS
                      9         Plaintiffs'Com plaint and FA C are prem ised on allegedly unlaw fulcalls by M cclatchy to
                     10 Plaintiffs'phone num bers.See,generall
                                                             y,ECF 53.A fter M cclatchy confirm ed thatm any ofthe
                     11 allegationsintheFAC appeartobefalsebecauseno suchunlawfulcallsarereflectedinM cclatchy's
                     12 orthe rhird Parties'BusinessRecords,Plaintiffsconfrmed thatthey would subpoena Plaintiffs'
                     13 callrecords from their carriers.See Pierce Decl.! 4 & Exs.C,D.Plaintiffshave circulated
                     14 subpoenas to the Plaintiffs'cprriers fortheir callrecords.See 1d.How ever,each colum unication
                     15 confirm ed thatthe subpoenashave notbeen served and itrem ainsunclear whether tlze subpoenas
                     16 were evçr served and,ifthey were,whether mly ofthe canierseverresponded.See 1d.
                     17         The callrecordsthatPlaintiffs seek from the Third Parties can be obtained from Plaintiffs'
                     18 own cat-riers and,pursuantto theirFederalRule ofCivilProcedure 11duty to engagein <'an inquiry
                     19 reasonableunderthecircumstances''thattfthefactualcontentionshave evidential-y suppoxt''these
                     20 records should have been collected and review ed prior to liling the Com plaintand FAC .lnstead,
                     21 Plaintiffs improperly seek to burden Biscayne M arketing, Inc. to collect and produce this
                     22 informationalongwithabroadarrayofotherdocumentsandESI.SeePierceDeclaration!2& Ex.
                     23 A .M cclatchy's M otion should be granted and the Subpoena to Biscayne M arketing,Inc.quashed
                     24 becausePlaintiffshave failed to obtain thèrequested docmnentsfrom Plaintiffs'calnierspriorto
                     25 seetdng docllmentsandESlfrom BiscayneVarketingjtnc.SeeGcnz/
                                                                                  aLfesciences,2019WL
    '                26 7313047,at*7,kiting Ow,2018 W L 6267839,at*1.
.                    27 ///

        LEV;S        :!8 ///
        BRISBOIS          4866-:756-5116.1                        4
        BISGM RD
        ao jjp                X M ORANDUM OF POINTS Ar AUTHORITIESIN SUPPORT OF DEFENDAN T TI'
                                                                                             lE M CCLATCHY
        ATONE
            YSATL
                Aw                COMPAW ,LLC'SM OTION TO QUASH SUBPOENA TO BISCAYNE M ARKETING,INC.
          Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 7 of 13




                 1 V.         JCK LEG A CY CO M PAN Y IS N O T A PAR TY TO THE AC TION A ND
                              M CC LA TCH Y HA S N O SUCCE SSO R LIA BILITY FO R TH E AI,LEG ED
                 2            UNLAW FUL A C TS O F JCK LEGA CY C OM PAN Y .
                 3            Pl        ,
                                aintiffs Subpoenas to the Third Parties seek extensive inform ation about JCK Legacy
                 4 C
                       ompany even though itisnotaparty to thisA ction and itsactionsare notrelevantto theFA C,and
                 5 M
                     cclatchy hasno successorliability for any allegedly unlawfulactsofJCK Legacy Com pany.See
                 6 Rm E
                         x.1.O thelw ise,M cclatchy and JCK Legacy Company are notthe sam e entity,asrequired
                 7 b
                      y47U.S.C.5227(c)(5).
                 8            A
                                  sexplained to Plaintiffson June 15,2022,on February 13,2020 JCK Legacy Company
                 9 fil
                     ed a voluntaly petition underChapter 11ofthe U.S.Bankruptcy Code in the U.S.Banknzptcy
                10 C
                       ourqSouthernDiskictofNew York CaseNo.20-10418 (M EW ).SeePierceDecl.!5;seealso
                11 R                                                                            ,
                       equestforJudicialN otice in SupportofD efendantThe M cclatchy Company,LLC s M otion to
                12 Quash SubpoenatoBiscayneM arketing,Inc.(t:RJx,,)sx 1.I.
                                                                         !lJuly2020,JcK Legacycompany's
                                                                             .

                13
                   assets w ere sold to SIJ,LLC through an A ssetPm chase Agreelnentplzrsuantto a banknlptcy court
                14             $:          A
                     ordertitled Order(1) pprovingtheSaleoftheAcquiredAssetsFreealzdClearofClaims,Liens,
                15 l
                      nterestsandEncllmbrances;(11)ApprovingtheAssumptionandAssignmentofCertainExecutory
                16                                                                        ,, j
                     Contracts and Unexpired Leases'
                                                   ,and (111)Granting Related Reliefl w tj,a u<closing Date''of
                17                                                                tu
                     Septem ber 4,2020.1d.Sections 1.3 and 1.4 set forth the A ssum ed Liabilities,,an(jqs xcu ded
                18              '' d i
                     Liabilities ,an nclude$<a1lActionspendingon orbeforetheClosingDateagainsttheSellersorto
                19   th
                       e extent against or giving rise to liabilities or obligations of tlle Business, based on acts or
                20                                                                                ,,s u
                     om issionspriorto the ClosingDate even ifinstituted aftertheClosing Date. ee .
                21           O
                                  nAugust7,2020,theCourtissuedanOrder(1)ApprovingtheSaleoftheAcquiredAssets
                22 F
                      reeandClearofClaims,Liens,InterestsandEncllmbrances;(11)ApprovingtheAssllmption and
                23 A                                                                                 .
                     ssignmentofCel-tainExecutoryContractsandunexpiredLeases;and(111)GrantingRelatedRelief
                24 (Dkt No.744).See Id.On orabo
                          .
                                                 .utSeptember 10,2020,SIJ,LLC changed itsnameto tg-l-he
                25                               ,'     fl
                     M cclatchy Company,LLC (asre ectedinthecaliforniaSecretaryofState'spublicrecords)and
                26 thi
                      s entity is the sole Defendantin thisAction.SeeRJN ,Ex.2.
                27 V I
                      .    A RG U M EN T
                28         Thi                                                                       ,
LEV;S                           sM otion is broughton the groundsthatPlaintiffsare seeking M cclatchy sconfidential
BRISBOIS             4866-8756-5116.1                               5
BI
 SGY D                   M EM ORANDU M OF POINTS Ar AUTHORITIESIN SUPPORT OF DEFENDAN TTH EM CCLATCHY
&M HEP
ATG NEYSATLAW                     COMPANY,LLC'SMOTION TO QUASH SUBPOENA TO BISCAYNEMARKETING,INC.
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                 1 business records and ESl from Biscayne M arketing, Inc. and they have not given Biscayne
                 2 M arketing, lnc. sufficient tim e to respond to the Subpoena,plzrsuant to Federal Rule of Civil

                 3 Procedure45(d)(3)(A)(i),and the Subpoena subjectsBiscayneMarketing,Inc.to unduebtlrden
                 4 underRule45(d)(3)(A)(iv),pursuing information thatfarexceedsPlaintiffs'rightsto discovery
                 5 underRule26(b)(1).Given thatmuch oftheinformation soughtisreadily availableto Plaintiffs
                 6 through othersourcesand,otherwise,thatmuch ofitwouldbelargely irrelevant, the Subpoena is
                 7 the epitom e ofpresenting an undue burden.
                 8         A.     D efendantM cclatchv'sM otion toOuash RelatesBack to theDateofthe
                                  O rieinalFiline.
                 9
                10         Rule 15 of the FederalRules ofCivilProcedu'
                                                                     re states thatGCAn am endm entto a pleading
                11 relatesback to the date of the originalpleading when...the nm endmentasserts a claim or defense
                12 thatarose outofthe conduct,transaction,oroccurrence setout--orattem pted to be setout- in the

                13 originalpleading.''Fed.R.Civ.P.15(c)(1)(B).ltispossiblefortherelationbackdoctlinetoapply
                14 to a subsequently filed m otion as long as the originalm otion w as tim ely filed. Coral&;Stones
                15 UnlimitedCorp.v.Abraham,No.18-23658-Civ-Sco1a,2019U.S.Dist.LEM S29837,at*8-9(S.D.
                16 Fla.Feb.26,2019).Inaddition,Rsubstancemayprevailoverform incertaininstances,andamotion
                17 may bedeemed a4pleading'undertheçrelationback'doctrine,provideditçsatisfielsqtheRule8
                18 pleading requirem entsfora complaint.'''fJ.at*8.

                19         Here,DefendantM cclatchy'sM otiontoQuashSubpoenaswastimelyfiledonOctober26,
                20 2022 before the Easter D istrictofCalifornia,United States DistrictCourt.ln addition,D efendant
                21 M cclatchy's original M otion setforth severalpages of specific facts identifying w hy Plaintiffs'

                22 subpoenas should be quashed.Therefore,DefendantMcclatchy'sM otion to Quash Plaintiffs'
                23 Subpoenato BiscayneM arketing,Inc.relatesback tothedateofthefirstM otion.
                24         B.     Inform ation Soueht Bv The Subpoena Can B e O btained From Plaintiffs'
                                  Carriers.
                25
                           Atissue in thisA ction,in part,is whetherornotPlaintiffs'rcceived telephone solicitation
                26
                     callsfrom M cclatchy,asalleged.SeeFAC 15 50-116.Evenso,Plaintiffshaveapparently failedto
                27
                     collectcallrecordsfrom theirowncarriers.SeePierceDecl.!4& Exs.C,D.Beforeseekingthis
LEW IS          28
BRISBOIS             4866-8756-5116.1                           6
BI
 SGY D
&M/H     M?              M EM ORAN DUM OF POINTS Ar AIJTHORITIESIN SUPPORT OF DEFENDAN T TIIE M CCLATCH Y
ATU NEO ATLAW               COMPAW ,LLC'SM OTION TO QUASH SUBPOENA TO BISCAYNE M ARKETING,INC.
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             1 sam e inform ation from Biscayne M arkethlg,Inc.,Plaintiffs should be required to collectitfrom
             2 their own carriers and review the inform ation collected to narrow ly identify what additional,
             3 relevant inform ation they believe they need from Biscayne M arketing,lnc.,if any.See GczTzfu
                                                                                                           ç

             4 Lfesciences,2019W L 7313047,at*7,çiting Ou/,2018W L 62678399at*1.Thisisrequiredby
             5 Rule45(d).
             6         C.        Even Thouch JCK Lezacy Com panv IsN otA Partn lnform ation A boutItCan
                                 Be O btained From JCK Lecacv Com panv'sBankruptcv Case.
             7
             8         Any inform ation thatPlaintiffsw antaboutJCK Legacy Com pany can befirstsoughttllrough
    .        9 thepublicly available recordsin t
                                               .
                                                he JCK Legacy Company Banknzptcy case.See IU N Ex.1.Before
            10 seekingthissameinformationâom BiscayneM arketing,I11c.,Plaintiffsshouldberequiredtoc6llect
                                                                                '


            11 the publicly available records and review the inform ation collected to narrowly identify what       .
            12 additional, relevant information they believe they need from Biscayne M arketing,Inc.This is

            13 requiredbyRule45(d).
                                                                       I

            14         D.        The Subpoena To Biscavne M arketine.Inc.islm perm issiblv O verbroad.
            15         Plaintiffsseek a broad swath ofdocllm ents and ESIfrom Biscayne M arketing,Inc.thathas
                                             .



            16 no bearing on the FA C.First.,the Requests in the Subpoena are for the m ostpartnot lim ited in .

                            1.
            17 tem poralscope.Second,theRequestsin the Subpoena seek a broad sw ath ofinfonuation aboutJCK
            18 Legacy Com pany even though itis nota Party to the Action and,relevantinform ation aboutJCK
            19 Legacy Com pany,as explained,supra,can be obtained by Plaintiffs directly from the publicly
            20 available recordsin the JCK Legacy Com pany Banknzptcy case.Even then,M cclatchy has already
            21 providedPlaintiffswith asampleofcertain documentssought(ag.,thet:Do-Not-Ca1lCompliance
            22 Am endm ent''effective Januaty 1,2016 and BiscayneM arketing D o N otCallPolicy and Procedure.
            23 SeePierceDecl.!6.MuchofwhatissoughtaboutJCK LegacyCoGpanywouldappeartohaveno
            24 cormectionwhatsoevertothisAction.SeeAmyPierceDeclaration!2& Ex.A,RequestNo.4C<A1l
                                 .



            25 intenlal com m unications, including em ails and text m essages concelming ... JCK Legacy

            26 Companyl.j').
                  .'
            27         Third, the N im h Circuit recently contirfned that where liability and dnm ages w ould be
            28 Gtexcessively diflk ult''to prove the claim s is notsuitable for classresolution.Bowerman,39 F.4th
LEW IS
BRISBOIS         4g66-ws6-sl16.1                           7                                  ,
BI
 SG- D               v RM oltAxouv oF Pom '
                                          rsAxo Aursom zm s lx suppoR'roF DEFENIIAXT THE M ccl-
lc
 Ve'wIX                    covpAxy, Lcc'sMoTlox To QuAsu susposxA To BlscAvxsMARKETING,m c.
                                                                                          ATcuv
                       '
                                              j
 /

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                     1 at661-63.Asexplained in M cclatchy'sM otion to Dismiss(ECF 66),proving thateaèh class
                     2 m em berhasArticleIH standing w ould be Gtexcessively difficult,''requiring an extensive analysisof
                     3 each andevery putativeclassm em ber'srelationship withM cclatchy.
                     4           M oreover,even though Plaintiffspurpol'tto be seeking to protecttheprivacy ofconsum ers,
                     5 they are seeking from the Third-pal-ties inform ation aboutconsulners w ho are notparties to this
                     6 A ction and are notincluded in Plaintiffs defnitions oftheputative classm em bers.SeeA m y Pierce

                     7 Declaration!(2& Ex.A,RequestNo.1(çtAnylnternalDoNotCallListyouprovideormaintain
' '
                     8 fortheD efendant,orprovided orm aitztained forJCK Legacy Com pany,including the date thatany
                     9 individual's nam e or telephone num ber w as added to thatlist.A response to this requestd
                                                                                                                should                           .
                    10 include a11telephone numbers on the do notcalllistwithoutlimitation asio dateE.1'').Such
                    11 inform ation should notbe required untilthere is a class certified thatwould w arrantthe disclosure
                    12 ofthis inform ation to protectthese consllm ers.
                    13           E.      The Subpoena To BiscavneM arketinm Inc.W ould Be U ndulv Burdensom e.

                    14           Theoverbreadth ofthedocllm entsand information soughtby theSubpoenamakesitreadily
                    15 apparentthatrespondingtotheSubpoenawouldbeburdensom e,time-consumingandexpensivefor
                    16 Biscayne M arketing,lnc.Rem arkably,asnoted,supra,m ostofthe Requestsare notlim ited in lim e

                    17 orscope.SeeAmyPierceDeclaration!2 & Ex.A,RequestNos.1,2,4,5,6,7,8.M anyofthese                                            '
                    18 same Requests are notlim ited to infonnation thatisrelevantto any Palv 's claim ordefense,or
                    19 likely to lead to this type of inform ation. For exam ple, Request N o. 8 seeks &ûA 1l internal
                    20 com m unications, including em ails and text m essages, concem ing D efendant and telem arketing
                    21 conducted for D efendant.'' A l1 internal com m unications, including em ails and text m essages,
                    22 concerning M cclatchy is self-evidently overbroad,ignoring thatitisnotlim ited in temporalscope.
                    23 ltis readily appàrentthat,As drafted,Plaintiffs'Subpoena to Biscayne M arketing,Inc.is contrary
                                                                                                                           l
                    24
                         1In its M otion, M oclatchy explainsthattheevidencethatPlaintiffsclaim would establish M cclatchy'sliability will
                    25 notsetwethatpurpose. Asexplained by M s.Raveraitlherdeclaration illsupportofM cclatchy'sM otion,M cclatchy's
                         andtheThirdParties'businessrecords(thetfl3usinessRecords'')wouldnotidentifyPfaintiffsasclassmembersbecause
                    26 nocallswereplacedtotlleirphonenllmbersaRertheywereplacedonMcclatchy'sinternaldo-not-calllist.Second,a
                         subscribercouldrequestnotto becalled byM cclatchyand.thereafter,resubscnbe providing therequisiteconsentto
                    27 be callednotwithsunding theirearlierrequestnottobe called by.'
                                                                                    M cclatchy. Thl
                                                                                                  :rd,theTCPA regulatestelephone
                         solicitationsandtelemarketingcalls,andthecallrecordsdonotprovideinformationaboutthenatureofthecall.Finally,
      L      S      28 BowermanteachesthatPlaintiffs'andtheclassclaimsmustbeprovablewithtçcommonevidence.''ECF74,Section
      BRISBOIS           11.
                           3.
                         4866-:756-5116.1    ,                     8
      BI
       SGM RD
      ho   up                M EM ORANDU M OFPOm TSAr AU TH ORITIESIN SUPPORT OF DEFEND AN T THE M CCLATCHY
      ArCKNaSATMW                 COMPAW ,LLC'SM OTION TO OUASH SUBPOENA TO BISCAYNEM ARKETING.INC.                                          .
    Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 11 of 13




           1 tothelimitsondiscovery setforth illRule454d)inFofarasitsoverbreadth seekstiimposgequndue
           2 burden orexpense''on BiscayneM arketing,Itlc.
           3          F.     The Subpoena To B iscavneM arketinc.Inc.isPrem ature.
           4          As explained,supra,Plaintiffs understand thatengaging in burdensom e, time consum ing,

           5 andexpensivediscoveryatthisjunctureisnotrequired,asevidencedbytheirstipulationtoextend
           6 the due date for M cclatchy's responses to discovery until 30 days after the Court rules on
           7 M cclatchy's M otion to D ism iss and M otion to Stlike.See Pierce D ecl. !3 & Ex.B.Thisistrue
           8 becausetheCourtcould g'
                                   rantM cclatchy'sM otionswithoutleaveto amend orrequirePlaintiffs'
           9 to am end theFAC to,for exam ple,strike the class allegations.
          10          Even so,M cclatchy's M s. Ravera provided Plaintiffs w ith a sum m ary of M cclatchy's
          11 investigation into the m aterial allegations in Plaintiffs' Com plaint and FA C in her declaration

          12 supporting M cclatchy's M otion to Dismiss.(ECF 66).Ultimately,much ofthe information
          13 Plaintiffsseek from theThird Partisshould notberequired to becollected and produced untila class
          14 hasbeen cel-tified,ifonecan becertifiedasaresultoftheBowermandecision. See 39F.4th at661-
          15 63.Atthatjuncture,subpoenaswith appropriate temporallimitsand scope can be pursued by
          16 Plaintiffs,as contem plated by Rules 26 and 45.M cclatchy'sM otion should be granted and the
          17 Subpoena to Biscayne M arketing, lnc. quashed because Plaintiffs have tequested thi sam e
          18 dobllm ents and ESIiom
                             .          V cctàtdhy bu(jtipulatedthatM cclatcàyisresponsesm'e,not'due uùtil
          19 after$heCou'
                        rtrtlleson itsV otion toDismiés.SeeGenusLfesciences,2019W L 7313047,at*7,
          20 citin'
                  g O w,2018 W L 6267839,qt*1.
          21 V l1. CO N CLUSIO N
          22         For the foregoing reasons,M cclatdly respedfully requeststhatthe Courtgratzt its M otion
          23 and quash Plaintiffs'subpoena to BiscayneM arketing,Inc.

          24          PursuanttoLocalRule7.1(a)(3),1certifytlzatolzroffcehasconfen'edwith a1lpartieswho
          25 m ay be affected by thereliefsoughtin thism otion in a good faith effortto resolve the issuesraised
          26 in the m otion,and have been unable to do so.
          27 ///
          28 ///
LEW IS
BRI
  SBOIS        4866-8756-5116.1                        9
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                   G M ORANDUM 0F POm TS Ar AUTHORITIES IN SUPPORT OF DEFENDANT TH E M CCLATCH Y
!c
 M
 sws
   lv%                 COMPANY,LLC'SMOTION T0 QUASH SIJBPOENA TO BISCAYNEMARKETING,INC.
     Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 12 of 13




            1 D ATED : N ovember 17,2022            LEW IS BRISBOIS BISGM RD & SM ITH LLP
           2
           3                                        B
                                                        y: ys/n ncentF.Alexander
           4                                               VW CEN T F.M EM ND ER
                                                           A ttol-neysforD efendant,
            5                                              THE M CCLATCHY COM PANY , LLc
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                    A M ORAN DUM OF POTN TSAr AUTHORITIES FN SU PPORT 0F DEFENDAN T Tlv M CCLATCHY
!c
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      C                COM PANL LLC'S MOTION TO QUASH SUBPOENA TO BISCAYNE M ARKETING,INC.
     Case 9:22-mc-81814-AMC Document 5 Entered on FLSD Docket 11/21/2022 Page 13 of 13




            1                               FED ER AL CO UR T PR OO F O F SERV IC E
                                        RobertKell y,etal.v.The M cclatchy Company,LL C
            l                          United StatesDistrictCourt,Southet'
                                                                         n DishictofFlorida
            3                        STATE OF CM JFORM A,COUN TY OF SA C                     NTO
            4             Atthetimeofservice!Iwasover18yearsofageandnotaparty to theaction.M y business
              addressis2020 W estE1CammoAvenue,Sutte700,Sacramento,CA 95833. 1am employedin the
            5 officeofam emberofthebarofthisCourtatwhosedirection theservicewasm ade.

            6             On November 17,2022,1 served the following documentts):M EM O                   UM OF
                POINTS AN D AU TH O RITIES IN SW PO RT O F D EFEN DA NT TH E M C CLATCH Y
            7 COM PANL LLC'S M OTION TO QUASH SUBPOENA TO BISCAYNE M ARKETING,
                INC .
            8
                    1servedthedocumentson thefollowingpersonsatthefollowingaddresses(includingfax
            9 numbersande-mailaddresses,ifapplicable):
           10                                      CO UN SEL FO R PLA IN TIFF
           11 Adrienne M cEntee                                   Anthony Paronich
              Beth E.Ten-ell
                      .                                           Paronich Law ,P.C.
           12 JenniferRustM un'ay                                 350 Lincoln Street,Suite 2400
              Sam uelJ.Strauss                                    Hingham , M assachusetls 02043
           13 M arshallLaw Group PLLC                             Em ail:antlaonyl pal'olziclllaw.com
              936 N .34th Street, Suite 300
           14 Seattle,W ashington 98103                           Klistin Kem nitzer
                Email:alAncellteeo teaellmal'shall.com            Adam M cNeile
           15 Email:bteaell@terl'ellllxal'sllall.com              Kemnitzer,Barron& Krieg
              Email:l
                    'lrun'ay@teln'ellmarsllall.colzl              42MillerAvenue
           16 Email:sam@turkestrauss.com                          M illValley,California94941-1904
                                                                  Em ail:Kristino kbkl:cal.com
           17                                                     Em ail:adam a kbkleRalcom
                                                                                         .



           18             The docum entsw ere served by the following m eans:
           19 IK          (BY OVERNIGHT DELIVERYIBased on anagreementofthepal-tiestoacceptservice
                          by overnightdelivery,Ienclosed the docum ents in an envelope orpackage provided by an
           20             overnightdelivery canierand addressed tothepersonsattheaddresseslisted above: 1placed
                          the envelope orpackage for collection and delivery atan office or a regulady utihzed drop
           21             box oftheovernightdeliverycarrier.

           22             Ideclarcunderpenalty ofpeljuly tmderthelawsoftheUnited StatesofAmericaandthe
                State ofCalifornia thatthe foregoing istrtze and correct.
           23
                          Executed on N ovem ber 17,2022,atSacram ento,California.
           24
           25
                                                                  h/Roxy A.Chipak
           26                                                     Roxy A . Chipak
           27
           28
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lV 1,t                     COM PAW ,LLC'S M OTION TO QUASH SUBPOENA TO BISCAYNE M ARKETING,INC.
